                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-99

                                            No. 218A20

                                       Filed 27 August 2021

     IN THE MATTER OF: M.A.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 27

     February 2020 by Judge Shamieka L. Rhinehart in District Court, Durham County.

     This matter was calendared for argument in the Supreme Court on 21 June 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           The Law Office of Derrick J. Hensley, PLLC, by Derrick J. Hensley, for
           petitioner-appellee Durham County Department of Social Services.

           Carrie A. Hanger for appellee Guardian ad Litem.

           Peter Wood for respondent-appellant mother.


           HUDSON, Justice.

¶1         Respondent, the mother of M.A. (Mark)1, appeals from the trial court’s order

     terminating her parental rights on the grounds of neglect and willful failure to make

     reasonable progress to correct the conditions that led to the child’s removal from the

     home. Because we hold the trial court did not err in concluding that grounds existed

     to terminate respondent’s parental rights under N.C.G.S. § 7B-1111(a)(1) based on



           1 A pseudonym is used to protect the juvenile’s identity and for ease of reading.
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     neglect, we affirm the trial court’s order.

                             I.    Facts and Procedural History

¶2          On 1 June 2015, the Durham County Department of Social Services (DSS)

     obtained nonsecure custody of then ten-month-old Mark and his fifteen-year-old

     brother, J.M.2, and filed a juvenile petition alleging they were neglected juveniles. In

     the petition, DSS alleged that respondent and the children were chronically homeless

     and had been staying “from place to place.” The petition further alleged that on 21

     May 2015, J.M. returned from school to the place where they had been staying and

     was unable to locate respondent. Respondent did not leave any information or

     instructions on where she could be found. After still not being able to find respondent

     that evening, J.M. went to his maternal grandmother’s senior residential complex at

     1:00 a.m. to have a place to stay. On 1 June 2015, the maternal grandmother informed

     DSS that J.M. could no longer stay with her as her residence did not allow children,

     and she was concerned about being evicted. DSS believed Mark was with respondent,

     however she had not been located at the time of filing the petition.

¶3          On 2 June 2015, respondent showed up at DSS’s office with Mark. The social

     worker addressed the allegations and petition with respondent and explained that

     DSS had obtained legal custody of her children on 1 June 2015. Respondent left Mark




            2 J.M. has reached the age of majority and is not a part of this appeal. Therefore, we

     discuss the facts primarily as they relate to Mark.
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     in the custody of DSS, and he was placed in foster care.

¶4         On 20 August 2015, the trial court entered an order adjudicating the children

     as neglected juveniles based on stipulations by the parties. In order to correct the

     conditions that led to the children’s removal, the trial court ordered respondent to

     complete a psychological evaluation with collateral contacts and objective testing, and

     follow any recommendations for mental health treatment; complete a parenting class

     and demonstrate and verbalize an understanding of the skills learned; obtain and

     maintain stable housing; obtain and maintain stable employment; demonstrate an

     ability and willingness to meet the children’s needs; refrain from substance abuse;

     maintain contact with the social worker and provide current contact information; and

     maintain visitation with the children. The trial court granted respondent two hours

     of supervised visitation every other week.

¶5         Following a review hearing held 17 November 2015, the trial court entered an

     order on 11 January 2016 continuing custody with DSS and placing Mark with his

     paternal great grandmother. The trial court found that respondent was employed and

     seeking housing, had started parenting classes, had completed a substance abuse

     assessment from which no services were recommended, and had completed a

     psychological evaluation.

¶6         In a review order entered on 7 June 2016, the trial court set the permanent

     plan for Mark as reunification with a secondary plan of guardianship. The trial court
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     found that respondent had obtained a one-bedroom home through Housing for New

     Hope. DSS had assessed the home on 31 May 2016 and found it to be appropriate for

     Mark. The trial court further found that respondent was making progress and was

     not a safety risk to Mark during visits but that she still needed to complete the

     parenting course and obtain sufficient income to meet the needs of her children. The

     trial court allowed respondent unsupervised visitation with Mark with the possibility

     of transitioning to overnight visits. In addition to respondent’s prior case plan

     requirements, the trial court ordered respondent to obtain a domestic violence

     assessment due to a history of domestic violence.

¶7         On 10 August 2016, Mark was placed in a foster home after the paternal great

     grandmother indicated she could no longer care for him due to her health. On 8

     September 2016, respondent was awarded overnight unsupervised visits on the

     condition that the father not be present.

¶8         In a 2 May 2017 permanency-planning-review order, the trial court continued

     the permanent plan of reunification but changed the secondary plan to adoption. The

     trial court found that respondent completed a domestic violence assessment in

     December 2016 which recommended mental health treatment and domestic violence

     counseling. Respondent completed a mental health assessment on 28 February 2017,

     and no treatment was recommended. However, DSS was concerned that respondent

     underreported her domestic violence history. Respondent completed an addendum to
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       the initial assessment on 15 August 2017. However, the trial court found that

       respondent “continued to minimize her domestic violence history and its impact on

       her.”

¶9             After another hearing, the trial court subsequently entered a permanency-

       planning-review order continuing the permanent plan of reunification with a

       secondary plan of adoption. The trial court found that respondent had housing and

       had been employed at the same company for the past eighteen months. However, the

       trial court found that respondent’s participation in domestic violence counseling had

       been “sporadic” and that respondent did not fully acknowledge the effects of her

       domestic violence history, nor did she fully understand the reasons the trial court was

       ordering her to engage in domestic violence counseling.

¶ 10           On 24 May 2018, DSS filed a motion to terminate respondent’s parental rights

       to Mark alleging the grounds of neglect and willfully leaving the child in foster care

       for more than twelve months without making reasonable progress to correct the

       conditions that led to his removal from the home. See N.C.G.S. § 7B-1111(a)(1)–(2)

       (2019). DSS alleged that respondent failed to demonstrate a willingness and ability

       to meet Mark’s needs due to respondent’s “delays in scheduling and attending

       assessments and treatment, her sporadic attendance at treatment, incomplete

       disclosures regarding problems and failure to utilize all visitation opportunities with

       the child.” DSS further alleged that respondent “exhibit[ed] a pattern of behavior of
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       disengagement and lack of follow through” as she had “several older children for

       whom she failed to engage in services in order to safely parent th[o]se children.”

¶ 11         Following a hearing on 20 and 23 July 2018, the trial court entered a

       permanency-planning-review order on 28 August 2018 changing the permanent plan

       to adoption with a secondary plan of guardianship. The trial court found that

       although respondent had stable housing, she had yet to complete the Parenting

       Capacity Assessment that was ordered in October 2017 which would address

       respondent’s understanding of the impact of her domestic violence and her ability to

       keep Mark and herself safe. The trial court further found that respondent missed a

       permanency planning review meeting and failed to provide an explanation, and that

       respondent was not at her home when the social worker conducted a pop-in visit

       during Mark’s unsupervised visitation. The trial court found that it is not possible for

       Mark to return to respondent’s care within the next six months because she “has not

       completed her court ordered services, especially the Parenting Capacity Assessment,

       . . . and her sporadic attendance of domestic violence counseling.”

¶ 12         The trial court conducted a termination-of-parental-rights hearing on 15

       August, 9 and 15 October, 14 November, and 6 and 11 December 2019. On 27

       February 2020, the trial court entered an order concluding that respondent’s parental

       rights were subject to termination on the grounds of neglect and willful failure to

       make reasonable progress to correct the conditions that led to Mark’s removal from
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       the home. The trial court further concluded that termination of respondent’s parental

       rights was in Mark’s best interests. Accordingly, the trial court terminated

       respondent’s parental rights. Respondent appealed.

                                        II.     Analysis

¶ 13         On appeal, respondent contends the trial court erred by adjudicating grounds

       for termination of her parental rights under N.C.G.S. § 7B-1111(a)(1) and (2).

       Because only one ground is necessary to terminate parental rights, we only address

       respondent’s arguments regarding the ground of neglect. See In re A.R.A., 373 N.C.

       190, 194 (2019).

¶ 14         We review a trial court’s adjudication “to determine whether the findings are

       supported by clear, cogent and convincing evidence and the findings support the

       conclusions of law.” In re Montgomery, 311 N.C. 101, 111 (1984). Unchallenged

       findings of fact “are deemed supported by competent evidence and are binding on

       appeal.” In re T.N.H., 372 N.C. 403, 407 (2019). “Moreover, we review only those

       findings necessary to support the trial court’s determination that grounds existed to

       terminate respondent’s parental rights.” Id. “The trial court’s conclusions of law are

       reviewable de novo on appeal.” In re J.O.D., 374 N.C. 797, 801 (2020).

¶ 15         A trial court may terminate parental rights when it concludes the parent has

       neglected the juvenile within the meaning of N.C.G.S. § 7B-101. N.C.G.S. § 7B-

       1111(a)(1). A neglected juvenile is one “whose parent, guardian, custodian, or
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caretaker does not provide proper care, supervision, or discipline; . . . or who lives in

an environment injurious to the juvenile’s welfare.” N.C.G.S. § 7B-101(15) (2019). In

some circumstances, a trial court may terminate a parent’s rights based on neglect

that is currently occurring at the time of the termination hearing. See, e.g., In re

K.C.T., 375 N.C. 592, 599–600 (2020) (“[T]his Court has recognized that the neglect

ground can support termination . . . if a parent is presently neglecting their child by

abandonment.”). However, for other forms of neglect, the fact that “a child has not

been in the custody of the parent for a significant period of time prior to the

termination hearing” would make “requiring the petitioner in such circumstances to

show that the child is currently neglected by the parent . . . impossible.” In re N.D.A.,

373 N.C. 71, 80 (2019) (quoting In re L.O.K., 174 N.C. App. 426, 435 (2005)). In this

situation, “evidence of neglect by a parent prior to losing custody of a child—including

an adjudication of such neglect—is admissible in subsequent proceedings to

terminate parental rights[,]” but “[t]he trial court must also consider any evidence of

changed conditions in light of the evidence of prior neglect and the probability of a

repetition of neglect.” In re Ballard, 311 N.C. 708, 715 (1984). After weighing this

evidence, the trial court may find the neglect ground if it concludes the evidence

demonstrates “a likelihood of future neglect by the parent.” In re R.L.D., 375 N.C.

838, 841 (2020) (quoting In re D.L.W., 368 N.C. 835, 843 (2016)). Thus, even in the

absence of current neglect, the trial court may adjudicate neglect as a ground for
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       termination based upon its consideration of any evidence of past neglect and its

       determination that there is a likelihood of future neglect if the child is returned to

       the parent. In re R.L.D., 375 N.C. at 841 n.3.

¶ 16         Respondent acknowledges that Mark was previously adjudicated to be a

       neglected juvenile but challenges the trial court’s finding as to the likelihood of a

       repetition of neglect.

       A. Challenged Findings of Fact

¶ 17         Respondent first challenges the following findings of fact:

                    11. That at the time of this termination hearing, the
                    Petitioner demonstrated by and through the evidence
                    presented that conditions rising to the level of neglect
                    existed during the pendency of the termination action in
                    that the child lived in an environment injurious and that
                    the parents did not provide proper care or supervision in
                    that there continued to be unstable housing, unresolved
                    issues of domestic violence, the father’s abandonment and
                    issues surrounding the parent’s willingness and ability to
                    provide proper supervision and care in the home.

                    ....

                    64. The [c]ourt is aware that there has not been any
                    reporting of any incidents of domestic violence since
                    adjudication, but the [c]ourt is concerned that the mother
                    has continued to underreport her history of domestic
                    violence. Dr. Harris-Britt did state that the mother did not
                    demonstrate an understanding of the skills she may have
                    learned in her domestic violence counseling. The [c]ourt
                    finds that the mother was unable to articulate the skills
                    she learned in her domestic violence counseling with KKJ
                    Services as testified to in this hearing.

                    65. The [c]ourt acknowledges the reasons [Mark] was
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neglected in the underlying adjudication and disposition;
however, the [c]ourt must assess risk and harm. This
[c]ourt does not believe that the mother could protect
herself or [Mark] from being in a situation of domestic
violence or being able to protect [Mark] if she found herself
in that situation. The [c]ourt finds that the mother has yet
to progress with her understanding of domestic violence
and how it could impact her and what she would need to do
to protect herself and [Mark].

66. The [c]ourt also finds that the reason that [Mark] was
removed was because of instability of housing. The [c]ourt
looks at how differently the mother’s housing status has
changed from when [Mark] entered in the custody of DSS.
At the time this case was adjudicated, the mother resided
at Urban Ministries. The mother was able to locate a one-
bedroom apartment and resided there for about three
years. However, the mother moved in April of 2019 after
having stable housing for a good period to move to a studio
apartment with a co-worker where she is not on the lease.
The mother reports that she moved to be closer to a better
school; however, her housing situation remains unstable.
The mother did not communicate to DSS that she had
moved until September of 2019 when she requested that
DSS look at her home so she could have overnight
supervised visits. When [DSS] inquired as to who stayed
with the mother, she did not provide a name of who stayed
with her. It was not only until the hearing, that the mother
revealed that she was staying with a roommate and the
name of the roommate was given. Apparently, the mother’s
roommate is a male co-worker.

....

68. The [c]ourt wonders where the visits were occurring
during the time period where the mother was staying at
her new residence that had not been approved for
overnight weekend visits. The mother would have known
that it was important to have been in place at the
apartment that was approved for her visits so that the
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social worker could bring back to the [c]ourt information
about how the visits were going. During this same
timeframe, the mother was requesting drop off and pick up
of [Mark] at various public places but not the residence
that was approved for her visits.

....

70. The [c]ourt finds that the fact that the mother was
having unsupervised overnight weekend visits made her
unmotivated in addressing the concerns of the court. The
mother was ordered to complete the PCA in November of
2017 and it was not completed until November of 2018. The
mother did not tell social worker Dearing that she had
moved in April of 2019; the mother requested an
assessment of her “new” home, approximately five months
after she moved. The [c]ourt is baffled as to why the mother
would not tell the social worker she had moved.

71. The [c]ourt finds that the mother has been working, but
the [c]ourt still has concerns as to whether she can
maintain her own household with her own efforts. The
[c]ourt also finds that the mother has had the type of
visitation she has had for a good period, but the court still
finds that: 1) she still does not have stable housing and that
she continues to struggle in maintaining a safe and
functioning home for [Mark]; 2) the [c]ourt also is
concerned because Dr. April Harris-Britt has made
recommendations for an ACTT team and intensive mental
health services along with her having domestic violence
counseling and the mother still has yet focused and
address[ed] the core issues of domestic violence about
which the [c]ourt remains concerned. The [c]ourt is dubious
of the mother’s participation for services with KKJ Services
and whether the mother’s participation with this program
will decrease the likelihood that [Mark] is returned to
conditions resulting in his neglect given her lack of insight
and her high level of distrust.

72. The [c]ourt also gives great weight to how long [Mark]
has been in the care of DSS since 2015. He has been in the
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       care of DSS for most of his life. The mother has had ample
       times to address these issues that continue to pose a risk if
       [Mark] were returned to her care. The mother lives in a
       small apartment with a man and pays half the rent and not
       paying the utilities. The [c]ourt does not know whether
       [Mark] was kept safe or properly supervised and cared for
       during these overnight visits. When the social worker
       would go to the residence that was approved for her visits
       for unannounced pop-in visits, the mother and [Mark] were
       not there. The [c]ourt does not know what, if anything,
       [Mark] was exposed to and the mother knew that pop-in
       visits were required by . . . DSS.

       ....

       74. The [c]ourt finds that there is a likelihood of repetition
       of neglect if the juvenile was returned to the home of the
       Respondents[3] based upon the findings of fact herein and
       the underlying permanency planning orders relied upon
       and incorporated herein.

       75. Respondents’ failure to adequately and timely address
       the issues that led to the removal of the juvenile from the
       home constitutes neglect. That failure to adequately and
       timely address the neglectful behaviors, renders the
       Respondents incapable of providing adequate care and
       supervision of the juvenile. The probability that the neglect
       will be repeated and said incapability will continue in the
       future is high given the failure of the Respondents to
       address and alleviate the issues.

       76. The Respondent Mother has demonstrated a settled
       pattern of neglect of the juvenile, and this pattern is likely
       to continue into the foreseeable future. The [c]ourt finds
       there is a reasonable probability that such neglect would
       be continued and repeated if the juvenile was to be
       returned to the care, custody, or control of the
       Respondents.


3 Although M.A.’s father was a respondent in this case, he is not party to this appeal.
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                    ....

                    81. The [c]ourt finds that, as of the time of the termination
                    hearing, the Respondent Mother has not made reasonable
                    progress under the circumstances to correct the conditions
                    that led to the juvenile’s removal in that while she did
                    maintain housing for a period of time, she moved without
                    notifying the social worker during a time when she was
                    being allowed unsupervised overnight visitations. There
                    were periods of time when the social worker could not
                    complete any pop-in visits to observe and monitor these
                    visits. The mother stopped having drop-offs and pickups at
                    her known residence. She then relocated to an apartment
                    residence with an undisclosed male roommate and no
                    lease. She failed to cooperate with the mental health
                    recommendations. She did not participate in domestic
                    violence treatment to the satisfaction of this [c]ourt. She
                    failed to comp[l]ete the Parenting Capacity Assessment
                    until a year after it was ordered and then failed to
                    demonstrate the willingness and ability to comply with the
                    recommendations from that assessment. These last two
                    services were ordered by this [c]ourt in order to remedy the
                    conditions which led to the juvenile’s adjudication, namely
                    [the] mother’s homelessness and housing instability and
                    the contributions [of] her history of Domestic Violence
                    which the [c]ourt found was critical in the neglect of this
                    juvenile. The Respondent Mother willfully failed and
                    refused to substantially complete the services as ordered
                    by the [c]ourt in a reasonable manner and timeframe.[4]

¶ 18         Respondent raises no specific evidentiary challenges to these findings but

       “disputes” them generally. After reviewing the record, including the testimony from

       the termination hearing and the unchallenged findings of fact, we hold the challenged



             4  Although respondent challenges finding of fact 81 in her argument regarding
       grounds for termination under N.C.G.S. § 7B-1111(a)(2), the finding is also relevant to
       support the ground of neglect, so we address it here.
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       findings are supported by competent evidence in the record. First, the social worker

       testified at the termination hearing regarding respondent’s progress on her case plan

       over the four years that Mark had been in DSS custody, including testimony

       regarding respondent’s housing situation, her participation in domestic violence

       treatment, and her visitations with Mark. The social worker testified that respondent

       no longer had stable housing and did not inform DSS that she had relocated until five

       months after she had moved, had not completed domestic violence treatment as

       recommended by her case plan, and was not always present at her home when the

       social worker attempted random pop-in visits during several of respondent’s

       unsupervised visitation periods. The social worker also testified that respondent

       delayed in completing some services, including taking one year to complete the

       Parenting Capacity Assessment, which respondent was ordered to complete to

       address respondent’s domestic violence issues.

¶ 19         Furthermore, the psychologist who conducted the Parenting Capacity

       Assessment testified at the termination hearing that respondent had “extremely

       limited insight into how her own behaviors had impacted her children, why they were

       in care[,]” and that respondent’s “inability to recognize or acknowledge the really

       important events that have happened for her as well as for her children will impact

       her ability to . . . benefit from services” and “ultimately will impact her ability to

       provide a safe and nurturing appropriate home for [Mark].” The Parenting Capacity
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       Assessment, which was admitted into evidence at the termination hearing, stated

       that respondent “continues to display an unwillingness to accept accountability and

       a continuous lack of consistency in completing the actions necessary to meet the

       requirements of the court for reunification.”      The assessment also stated that,

       although respondent participated in domestic violence classes, “she did not

       demonstrate or verbalize understanding of the skills she may have received in [those]

       classes.”

¶ 20         Finally, the trial court found in other unchallenged findings that respondent

       moved to a studio apartment without informing DSS and was unable to provide a

       lease to the apartment nor the name of the roommate that lived with her. As a result,

       DSS was not able to approve respondent’s residence for overnight visitations. The

       trial court also found that respondent had not provided any documentation to DSS

       showing that she was participating in mental health counseling, as recommended by

       her domestic violence assessment, and that respondent informed the social worker

       that she was receiving domestic violence counseling at KKJ, where she “participates

       in support group sessions where the participants discuss outcomes for domestic

       violence.” The trial court further found that although respondent was present at her

       home during some of DSS’s pop-in visits during her visitations with Mark, there were

       at least ten times where respondent was not at her home with Mark. Because there

       is substantial evidence in the record to support the challenged findings, including
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       testimony from the termination hearing and other unchallenged findings, we reject

       respondent’s general challenge to the trial court’s findings of fact.

¶ 21          Respondent also argues that findings of fact 64 and 65, which relate to

       respondent’s domestic violence issues, are mere speculation by the trial court and

       based on “pure conjecture.”5 “The [trial] court has the responsibility of making all

       reasonable inferences from the evidence presented.” In re N.P., 374 N.C. 61, 65 (2020).

       “Such inferences, however, cannot rest on conjecture or surmise. This is necessarily

       so because an inference is a permissible conclusion drawn by reason from a premise

       established by proof.” In re K.L.T., 374 N.C. 826, 843 (2020) (cleaned up) (quoting

       Sowers v. Marley, 235 N.C. 607, 609 (1952)).

¶ 22          We conclude the trial court’s inferences in findings of fact 64 and 65 are not

       based merely on conjecture. The trial court could reasonably infer from the evidence

       presented that respondent would not be able to protect herself or Mark from being in

       a domestic violence situation or to protect Mark if she found herself in that situation.

       In the termination order, the trial court acknowledged that there had not been any

       reports of incidents of domestic violence since the adjudication in 2015. However, the

       trial court expressed concern that respondent was underreporting her domestic

       violence history. The trial court also found that respondent was unable to articulate




              5 Respondent also challenges finding of fact 68 for the same reasons, however, that

       finding is not necessary to support the ground of neglect.
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       the skills she learned in her domestic violence counseling and that she had not

       progressed with her understanding of domestic violence, how it could impact both her

       and Mark, and what she would need to do to protect herself and Mark. At the

       termination hearing, the psychologist that conducted respondent’s Parenting

       Capacity Assessment testified that respondent was “extremely limited in her ability

       and willingness to share information about her domestic violence history” and

       “oftentimes” would underreport that information. The psychologist also testified that

       respondent’s “inability to recognize or acknowledge” her history would impact her

       ability to benefit from services and ultimately impact her ability to provide a safe and

       nurturing home for Mark. The trial court could reasonably infer from this evidence

       that respondent would not be able to utilize the learned skills in order to protect

       herself and Mark from a domestic violence situation.

¶ 23         Respondent also “disputes the findings that she had failed to obtain stable

       housing.” She contends that one move in over three years “is hardly unstable” and

       that the only issue with her housing “seemed to be that DSS had not had time to

       investigate her new residence or her new roommate.” We disagree.

¶ 24         The evidence and findings support the trial court’s conclusion that at the time

       of the termination hearing, respondent did not have stable housing. The trial court

       found that respondent had obtained stable housing for three years while she was

       residing in the one-bedroom home she had been renting that DSS found to be
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       appropriate for Mark. However, around April of 2019, respondent moved to a studio

       apartment that she shared with a male coworker where she was not named on the

       lease. The trial court found that respondent did not inform DSS of the move until five

       months later when she requested a home assessment for overnight visits, that

       respondent was not forthcoming about the move when questioned by the social

       worker, and that respondent failed to provide a name for her roommate until the

       termination hearing. Based on these findings, the trial court found that although

       respondent had obtained stable housing “for a good period[,]” at the time of the

       termination hearing “her housing situation remain[ed] unstable.”

¶ 25         Although one relocation in a period of three years does not necessarily indicate

       instability, respondent moved from an approved one-bedroom home where she was

       the only tenant named on the lease to a shared studio apartment where she was not

       named as a tenant on the lease, and thus she has no legal right to remain in the home.

       Respondent testified at the termination hearing that she split the rent with her

       roommate but that the roommate paid for the utilities. Respondent also testified that

       she had moved to the apartment “several months ago” but she did not know the exact

       date and that she was “planning on finding a two-bedroom apartment or a house.”

       Therefore, we conclude the trial court’s findings that respondent did not have stable

       housing at the time of the termination hearing are sufficiently supported.

       B. Repetition of Neglect
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¶ 26         Respondent next argues the trial court erred in determining there was a

       likelihood of future neglect. Citing N.C.G.S. § 7B-903.1(c), respondent contends that

       the trial court’s finding of a probability of future neglect is inconsistent with its

       determination that she continued to have unsupervised visits for the three years

       leading up to the termination hearing.

¶ 27         Subsection 7B-901.3(c) provides that

                    [i]f a juvenile is removed from the home and placed in the
                    custody or placement responsibility of a county department
                    of social services, the director shall not allow unsupervised
                    visitation with or return physical custody of the juvenile to
                    the parent, guardian, custodian, or caretaker without a
                    hearing at which the court finds that the juvenile will
                    receive proper care and supervision in a safe home.

       N.C.G.S. § 7B-903.1(c) (2019). The Juvenile Code defines a “[s]afe home” as “[a] home

       in which the juvenile is not at substantial risk of physical or emotional abuse or

       neglect.” N.C.G.S. § 7B-101(19).

¶ 28         Respondent argues that because the trial court did not change her

       unsupervised visitation during the four-month period in which the termination

       hearing was held, “the court must have determined that [respondent] had continued

       to provide a safe home free of neglect.” She contends that although the trial court did

       not specifically find in the termination order that respondent had provided a safe

       home free of neglect for Mark, it “implicitly reached those conclusions when it

       continued to allow unsupervised visits.” Therefore, respondent contends that the trial
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       court’s finding of a probability of neglect was “irreconcilably inconsistent” with

       allowing continued unsupervised visits. She further argues that even if the evidence

       could support neglect, allowing respondent to continue to exercise unsupervised

       visitation was “internally inconsistent” with a finding of a probability of future

       neglect. Respondent’s arguments are misplaced.

¶ 29         Pursuant to Rule 58 of the North Carolina Rules of Civil Procedure, “a

       judgment is entered when it is reduced to writing, signed by the judge, and filed with

       the clerk of court.” N.C.G.S. § 1A-1, Rule 58 (2019). Additionally, “a trial court’s oral

       findings are subject to change before the final written order is entered.” In re A.U.D.,

       373 N.C. 3, 9–10 (2019). Thus, even assuming the trial court had determined that

       respondent provided a safe home during the termination hearing, the trial court’s

       finding was subject to change until the final order was entered. Because the

       termination order does not continue respondent’s unsupervised visitation, and in fact

       restricts respondent to supervised visitation, the trial court did not simultaneously

       find that respondent could provide a safe home for Mark and that there was a

       likelihood of repetition of neglect. Similarly, respondent’s assertion that the trial

       court’s findings are “internally inconsistent” is without merit. The trial court did not

       allow respondent to continue to exercise unsupervised visitation in the termination

       order in which it found a probability of future neglect.

¶ 30         Moreover, the fact that respondent was previously approved for unsupervised
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       overnight visitation at a prior address did not preclude the trial court from later

       finding a likelihood of repetition of neglect when respondent’s circumstances changed.

       At the time of the termination hearing, respondent was no longer residing at her

       approved one-bedroom home but was sharing a studio apartment with an unknown

       roommate, was not listed on the lease as a tenant, and was not paying utilities for

       the apartment. Respondent failed to inform DSS of the move for five months despite

       continuing to exercise her unsupervised overnight visitation. Therefore, we reject

       respondent’s arguments.

¶ 31         Finally, respondent argues the evidence presented at the termination hearing

       did not support the trial court’s finding of a probability of future neglect. We disagree.

¶ 32         “A parent’s failure to make progress in completing a case plan is indicative of

       a likelihood of future neglect.” In re M.A., 374 N.C. 865, 870 (2020) (quoting In re

       M.J.S.M., 257 N.C. App. 633, 637 (2018)). However, “[a]s this Court has previously

       noted, a parent’s compliance with his or her case plan does not preclude a finding of

       neglect.” In re J.J.H., 376 N.C. 161, 185 (2020) (citing In re D.W.P., 373 N.C. 327,

       339–40 (2020) (noting the respondent’s progress in satisfying the requirements of her

       case plan while upholding the trial court’s determination that there was a likelihood

       that the neglect would be repeated in the future because the respondent had failed

       “to recognize and break patterns of abuse that put her children at risk”)); see also In

       re Y.Y.E.T., 205 N.C. App. 120, 131 (explaining that a “case plan is not just a check
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       list” and that “parents must demonstrate acknowledgement and understanding of

       why the juvenile entered DSS custody as well as changed behaviors”), disc. review

       denied, 364 N.C. 434 (2010). Although respondent had made some progress on the

       requirements of her case plan, she had not addressed the conditions that resulted in

       Mark’s placement in DSS custody.

¶ 33         The trial court found that Mark was removed from respondent’s care and

       adjudicated to be a neglected juvenile primarily due to respondent’s unstable housing

       and history of domestic violence. The trial court also found that conditions rising to

       the level of neglect existed during the pendency of the termination action due to

       respondent’s continued unstable housing and unresolved issues of domestic violence.

       Respondent had over four years to address the conditions that led to Mark’s removal

       but failed to do so. Although respondent attended some domestic violence counseling,

       the trial court found that she “did not participate in domestic violence treatment to

       [its] satisfaction” and that she did not demonstrate an understanding of her domestic

       violence issues, how they impacted her and Mark, and how to protect herself and

       Mark in a domestic violence situation. The findings also show that although

       respondent had obtained stable housing for a period of three years, at the time of the

       termination hearing respondent was sharing a studio apartment with a male

       coworker and was not on the apartment lease as a tenant. Respondent was not

       forthcoming about her move and did not inform DSS of the move or request an
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       assessment of her new home until five months after she moved despite continuing to

       exercise her unsupervised visitation. The trial court also found that respondent

       “failed to comp[l]ete the Parenting Capacity Assessment until a year after it was

       ordered and then failed to demonstrate the willingness and ability to comply with the

       recommendations from that assessment.” Finally, the trial court found that

       respondent’s failure to adequately and timely address the issues that led to Mark’s

       removal from her care constitutes neglect.

¶ 34         We hold the evidence and findings demonstrate that Mark is likely to be

       neglected again if returned to respondent’s care due to her lack of stable housing and

       unresolved domestic violence issues and that they support the trial court’s ultimate

       finding that there is a likelihood of repetition of neglect. See In re M.A., 374 N.C. at

       870 (holding that, although the respondent claimed to have made reasonable progress

       in addressing elements of his case plan, the trial court’s findings regarding the

       respondent’s failure to adequately address the issue of domestic violence, which was

       the primary reason that the children had been removed from the home, were,

       “standing alone, sufficient to support a determination that there was a likelihood of

       future neglect”). As a result, the trial court did not err by determining that grounds

       existed under N.C.G.S. § 7B-1111(a)(1) to terminate respondent’s parental rights.

       Respondent does not challenge the trial court’s dispositional determination that

       termination of her parental rights was in Mark’s best interests. See N.C.G.S. § 7B-
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1110(a) (2019). Accordingly, we affirm the trial court’s order terminating respondent’s

parental rights.

      AFFIRMED.
